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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 15–cr–00383-RBJ-01

UNITED STATES OF AMERICA,

                     Plaintiff,

v.

1.      DANIEL DIRK CODDINGTON,

                     Defendant.


          UNOPPOSED MOTION FOR LEAVE TO RESTRICT DOCUMENTS


        Mr. Daniel Dirk Coddington, through undersigned counsel Kristen M. Frost and

Patrick L. Ridley of the law firm Ridley, McGreevy & Winocur, P.C., respectfully moves

to restrict [Doc. 276] the related exhibits, the brief in support of this motion and any

order revealing the contents of those documents and attachments, for the reasons

stated in the brief filed in support of this motion. Mr. Coddington requests a “Level 2"

restriction which would make the document, the brief in support of this motion, and any

order revealing the contents of that document, “Viewable by Selected Parties & Court”

only.

        Pursuant to D.C.COLO.LCivR 7.1A, counsel has conferred with AUSA Pegeen

Rhyne and she does not oppose this motion.
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      Respectfully submitted this 16th day of November, 2018.

                                               /s/ Kristen M. Frost
                                               Kristen M. Frost
                                               Patrick L. Ridley
                                               Ridley, McGreevy & Winocur, P.C.
                                               303 16th Street, Suite 200
                                               Denver, Colorado 80202
                                               Telephone: (303) 629-9700
                                               Fax: (303) 629-8702
                                               Email frost@ridleylaw.com
                                                      ridley@ridleylaw.com

                             CERTIFICATE OF SERVICE


       I hereby certify that on this 16th day of November, 2018 I served a true and
correct copy of the foregoing UNOPPOSED MOTION FOR LEAVE TO RESTRICT
DOCUMENTS electronically with the clerk of the court via the CM/ECF system to all
interested parties:

Pegeen Rhyne, AUSA
U.S. Attorney’s Office
1225 17th Street, Suite 700
Denver, CO 80202
Email: Pegeen.rhyne@usdoj.gov




                                                s/Polly Ashley
                                                Polly Ashley




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